              1       ARMAND J. KORNFELD (WSBA #17214)                HON. WHITMAN L. HOLT
                      THOMAS A. BUFORD (WSBA #52969)
              2       RICHARD B. KEETON (WSBA #51537)                 HEARING DATE: June 6, 2022
                      BUSH KORNFELD LLP
              3       601 Union Street, Suite 5000                    HEARING TIME: 2:30 P.M. (PST)
                      Seattle, WA 98101                               LOCATION:     Telephonic
              4       Tel.: (206) 292-2110
                      Facsimile: (206) 292-2104
              5       Emails: jkornfeld@bskd.com,
                      tbuford@bskd.com, and rkeeton@bskd.com
              6
                      RICHARD M. PACHULSKI (CA Bar #90073)*
              7       JEFFREY W. DULBERG (CA Bar #181200)*
                      JASON H. ROSELL (CA Bar #269126)*
              8       PACHULSKI STANG ZIEHL & JONES LLP
                      10100 Santa Monica Blvd., 13th Floor
              9       Los Angeles, CA 90067-4003
                      Tel: (310) 277-6910
             10       Facsimile: (310) 201-0760
                      Emails: rpachulski@pszjlaw.com,
             11       jdulberg@pszjlaw.com, and
                      jrosell@pszjlaw.com
             12       *Admitted Pro Hac Vice
             13       Attorneys for the Chapter 11
                      Debtors and Debtors in Possession
             14

             15                          UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF WASHINGTON
             16
                  In re                                         Chapter 11
             17   EASTERDAY RANCHES, INC., et al.               Lead Case No. 21-00141-WLH11
             18                      Debtors.1                  Jointly Administered
             19   EASTERDAY RANCHES, INC. and
                  EASTERDAY FARMS,                              Adv. Proc. No. 21-80044-WLH
             20
                                                 Plaintiffs,
             21            v.
                                                                NOTICE OF STATUS CONFERENCE
             22   RABO AGRIFINANCE LLC, a
                  Delaware limited liability corporation,
             23
                                                 Defendant.
             24
                  1
             25     The Debtors along with their case numbers are as follows: Easterday Ranches, Inc.,
                  (21-00141-WLH11) and Easterday Farms, a Washington general partnership
             26
                  (21-00176-WLH11).
             27                                                                            B USH K ORNFELD           LLP
                      NOTICE OF STATUS CONFERENCE –                                                LAW OFFICES
             28       Page 1                                                                  601 Union St., Suite 5000
                                                                                           Seattle, Washington 98101-2373
                                                                                              Telephone (206) 292-2110
                                                                                              Facsimile (206) 292-2104

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                  21-80044-WLH       Doc 33   Filed 06/02/22   Entered 06/02/22 09:49:50    Pg 1 of 2
              1         PLEASE TAKE NOTICE that, on June 1, 2022, the above-captioned adversary
              2   proceeding (the “Adversary Proceeding”) was administratively reopened by the court.
              3
                        PLEASE TAKE FURTHER NOTICE that the court will hold a status
              4
                  conference on Monday, June 6, 2022 at 2:30 p.m. Pacific Time (the “Status
              5
                  Conference”) to discuss matters related to or arising from the Adversary Proceeding
              6
                  and any stipulations by and between the parties filed herein. Parties to this proceeding
              7

              8   may appear at or attend the Status Conference via the court’s telephone conference line:

              9   (877) 402-9757, Access Code: 7036041.
             10   DATED: June 2, 2022             BUSH KORNFELD LLP
             11                                    /s/ Thomas A. Buford, III
                                                  THOMAS A. BUFORD, III (WSBA 52969)
             12
                                                  BUSH KORNFELD LLP
             13
                                                  RICHARD M. PACHULSKI (Admitted Pro Hac Vice)
             14                                   JEFFREY W. DULBERG (Admitted Pro Hac Vice)
                                                  JASON H. ROSELL (Admitted Pro Hac Vice)
             15                                   PACHULSKI STANG ZIEHL & JONES LLP
             16                                   Attorneys for Plaintiffs and Debtors and Debtors in
                                                  Possession
             17

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             27                                                                         B USH K ORNFELD           LLP
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